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                                                                      Exhibit
                                                                       AA3
                                                                   S1 19 Cr. 373(PGG)




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Summary of Comments on AA3 Homes typed notes
highlights-FOR FILING 2-13-20.pdf
Page: 1
 Number: 1             Author: Mike Lyon 2               Subject: Trial StampDate: 1/26/2020 6:12:23 PM


 Number: 2             Author: betsys           Subject: Highlight Date: 2/9/2020 3:51:23 PM


 Number: 3             Author: betsys           Subject: Sticky Note        Date: 2/9/2020 3:12:03 PM
 2/6/20
 PAGE 1455
 LINE 5-10
      5         THE WITNESS: If he's asking if Mr. Geragos conveyed

      6   the purpose of the meeting, my answer is no. I don't know if

      7   he commented on what the purpose of the meeting was.

      8   Q. Now, after Mr. Geragos introduced the meeting, do you

      9   recall Mr. Avenatti invoking Rule 408 of the Federal Rules of

     10   Evidence?


 Number: 4             Author: betsys           Subject: Highlight Date: 2/9/2020 3:51:47 PM


 Number: 5             Author: betsys           Subject: Sticky Note        Date: 2/9/2020 4:09:03 PM
 PAGE 1513

 5   Q. Do you remember that he continued and said as a

      6   confidential settlement discussion?

      7   A. I don't recall those specific --

      8   Q. Look at your notes.

      9   A. OK.

     10         MR. RICHENTHAL: Your Honor, he's badgering the

     11   witness.

     12         THE COURT: Yes. Keep your voice down. There is no

     13   reason to yell.

     14         MR. H. SREBNICK: Forgive me.

     15         THE COURT: No reason to yell.

     16   BY MR. H. SREBNICK:

     17   Q. I refer to your notes, sir.

     18         Isn't it true Avenatti said it was a confidential

     19   settlement discussion?

     20   A. So, again, this is -- every time you've asked this line of

     21   questioning, sitting here today I don't remember the specific




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22   words that were used throughout the meeting. I don't remember

23   that specific word. My notes say it. So, that was my best

24   memory at the time.
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 Number: 1            Author: betsys       Subject: Highlight Date: 2/9/2020 4:49:37 PM


 Number: 2            Author: betsys       Subject: Sticky Note             Date: 2/9/2020 4:50:41 PM
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 21   Q. Avenatti said, part two, it would be led by Avenatti and

      22   Geragos, correct?

      23   A. I understood it -- his demand is that Nike conduct an

      24   internal investigation and hire him and Mr. Geragos to conduct

      25   it.
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 Number: 1               Author: betsys      Subject: Highlight Date: 2/9/2020 3:26:30 PM


 Number: 2               Author: betsys      Subject: Highlight Date: 2/9/2020 3:26:19 PM


 Number: 3               Author: betsys      Subject: Sticky Note           Date: 2/9/2020 3:27:36 PM
 PAGES 1478-79


      19   A. I recall Mr. Wilson saying one of the interests was in

      20   conducting an internal investigation.

      21   Q. Do you recall that Wilson said "an internal investigation

      22   surrounding these allegations"?

      23   A. I don't recall the specific words.

      24   Q. AA-3, page 3, four lines from the bottom.

      25         (Pause)


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      1         Mr. Homes, does that refresh your recollection?

      2    A. I recall him saying, generally, that we were interested in

      3    conducting an internal investigation. I see it in my memo, but

      4    I don't have a memory of him saying those specific words.


 Number: 4               Author: betsys      Subject: Highlight Date: 2/9/2020 3:30:15 PM


 Number: 5               Author: betsys      Subject: Sticky Note           Date: 2/9/2020 3:30:05 PM
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 16   Q. Do you recall that right after that, Geragos describes how

      17   Nike had done the right thing with regard to Geragos'

      18   high-profile football client? Do you recall that?

      19   A. I recall there being a discussion about -- a general

      20   discussion about Geragos' negotiations with Nike, but I don't

      21   recall "the right thing" being said.

      22   Q. Take a look at AA-3, page 3, three lines from the bottom.

      23         Do you recall Geragos specifically used the phrase,

      24   "the right thing"?

      25   A. No. But it's in my memo so that was my memory at the time.
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 Number: 1             Author: betsys        Subject: Highlight Date: 2/9/2020 4:51:31 PM


 Number: 2             Author: betsys        Subject: Sticky Note        Date: 2/9/2020 4:52:38 PM
 PAGE 1483

 7   Q. Do you recall Mr. Wilson saying that he had seen a draft

      8   complaint?

      9   A. I don't recall that.

     10   Q. AA-3, page 4, paragraph 8.

     11         (Pause)

     12   A. I recall Scott making some comment that the packet of

     13   documents looked like they could have been from exhibits to

     14   some draft complaint.


 Number: 3             Author: betsys        Subject: Highlight Date: 2/9/2020 4:53:00 PM


 Number: 4             Author: betsys        Subject: Sticky Note        Date: 2/9/2020 4:55:25 PM
 PAGE 1483-84

     21   Q. Do you recall Mr. Wilson telling you he had seen a

     22   communication from 2016 which appeared to Wilson to be a

     23   payment to a basketball player, Brandon McCoy, through a

     24   handler named Shaun Manning?

     25   A. I'd have to look at my notes.
                                                  1484

      1   Q. Paragraph 10, the same page.

      2         (Pause)

      3   A. I don't recall that specific statement, but it's in my

      4   notes so that was my best memory at the time.
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 Number: 1             Author: betsys        Subject: Highlight Date: 2/9/2020 3:31:40 PM


 Number: 2             Author: betsys        Subject: Sticky Note            Date: 2/9/2020 3:32:51 PM
 PAGE 1485

 5    Q. Do you recall Mr. Wilson describing for you text messages

       6   from DeBose, the Nike executive, to Franklin, the coach, in

       7   which DeBose tells Franklin how to describe the services

       8   rendered on a Cal Supreme invoice?

       9        MR. RICHENTHAL: Objection to the word "executive."

      10         THE COURT: Overruled.

      11   A. I don't recall that specific statement, no.

      12   Q. AA-3, page 5, paragraph 3.

      13         (Pause)

      14   A. I recall Mr. Wilson discussing the Cal Supreme invoices. I

      15   do not recall him discussing the texts in which Carlton

      16   directed Gary Franklin how to describe those invoices. But

      17   it's in my memo, and, again, that's my best memory at the time.


 Number: 3             Author: betsys        Subject: Highlight Date: 2/9/2020 4:55:38 PM


 Number: 4             Author: betsys        Subject: Sticky Note            Date: 2/9/2020 4:56:10 PM
 PAGE 1486

 16    Q. Do you recall Mr. Wilson describing that he saw

      17   communications referencing a $10,000 payment to DeAndre Ayton's

      18   mother?

      19   A. I don't recall the specific amount, but I recall there

      20   being communications discussing some payment to DeAndre Ayton's

      21   mother.

      22   Q. AA-3, page 5, paragraph 6.

      23         (Pause)

      24   A. Sitting here today, I can't remember this specific amount.

      25   I remember that there were communications referencing a


 Number: 5             Author: betsys        Subject: Highlight Date: 2/9/2020 3:37:22 PM


 Number: 6             Author: betsys        Subject: Sticky Note            Date: 2/9/2020 3:39:17 PM
 PAGE 1487

       3   Q. Do you recall Mr. Wilson describing that he saw




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     4   communications that describe Mr. McDonald as Bol Bol's handler?

     5   A. I can't recall if the word "handler" was used. I recall

     6   there being some documents describing McDonald's connection to

     7   Bol Bol.

     8   Q. AA-3, page 5, paragraph 8.

     9        (Pause)

    10         Does that refresh your recollection?

    11   A. I can't remember today that he used the word "handler," but

    12   it's in my notes and that was my best memory at the time.



Number: 7             Author: betsys          Subject: Sticky Note        Date: 2/9/2020 3:44:46 PM
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2   A. Rob said -- he acknowledged the claims that Mr. Avenatti

     3   was saying and said we have to look at the contract.

     4   Q. Leinwand said he needed to look at the contract before

     5   making any decisions about resolving the claims, correct?

     6   A. I don't recall that. I recall him saying I acknowledge the

     7   claims but I need to look at the contract.

     8   Q. He said I need to look at the contract before making any

     9   decisions, correct?

    10   A. I don't recall him saying those words. I recall him saying

    11   I acknowledge the claims but I need to look at the contract.

    12   Q. AA-3, page 5, last paragraph.

    13         (Pause)

    14   A. I don't recall him saying that.

    15   Q. Did you record that statement, quote, I get the claims but

    16   we need to look at Nike's contract with Gary before we make any

    17   decisions?

    18   A. Yes.


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 Number: 1             Author: betsys         Subject: Highlight Date: 2/9/2020 3:21:08 PM


 Number: 2             Author: betsys         Subject: Sticky Note           Date: 2/9/2020 3:24:39 PM
 PAGE 1493

 12    Q. Mr. Avenatti indicated that any agreement would make clear

      13   that Nike was not buying Franklin's testimony, correct?

      14   A. I don't recall that.

      15   Q. AA-3, page 7, paragraph marked (1).

      16         (Pause)

      17   A. I don't recall it, sitting here today, but that's the

      18   memory I have reflected in my notes.

      19   Q. The phrase "Nike is not buying Gary Franklin's testimony"

      20   was recorded in your notes eleven months ago, correct?

      21   A. Yes.

      22   Q. And that was your best recollection of the words Avenatti

      23   used on March 19, 2019, correct?

      24   A. Yes.

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 Number: 4             Author: betsys         Subject: Sticky Note           Date: 2/9/2020 3:45:42 PM
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 6    Q. Your best recollection of what the words Avenatti used was

       7   "if Nike brings in any other firms," with an "S," correct?

       8   A. I just described what my best recollection was.

       9   Q. Are AA-3, page 7, (2).

      10         (Pause)

      11   A. My memory is that Avenatti said if Nike hired any other

      12   firms to conduct the internal investigation, they'd have to pay

      13   those firms -- they'd have to pay Mr. Avenatti and Mr. Geragos

      14   twice the amount they paid those firms.

      15   Q. And then Avenatti made clear, "We are not asking you to pay

      16   for nothing"?

      17         MR. RICHENTHAL: Objection.

      18         THE COURT: Sustained.

      19   Q. Did Avenatti say to you, Wilson and Leinwand, "We are not

      20   asking you to pay for nothing"?




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     21   A. I can't recall him saying those exact words.

     22   Q. AA-3, page 7, (2), two-third of the way through the

     23   paragraph.

     24           (Pause)

     25   A. That's what I wrote in my notes, yes.


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Number: 6              Author: betsys       Subject: Highlight Date: 2/9/2020 3:15:27 PM


Number: 7              Author: betsys       Subject: Sticky Note           Date: 2/9/2020 3:18:30 PM
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12   Q. Do you recall Avenatti further describing what Franklin

     13   would say?

     14   A. No.

     15   Q. Didn't Mr. Avenatti tell you, Wilson, and Leinwand that

     16   Gary Franklin would say he was threatened that he would lose

     17   his program if he refused to make the payments?

     18   A. I don't recall him saying those specific words.

     19   Q. AA3, page 7, same paragraph I just directed you to.

     20   A. They were in my notes so that is my best memory at the

     21   time.

     22   Q. Do you recall that Mr. Avenatti told you, Wilson and

     23   Leinwand that Franklin would say that he was told how to

     24   structure the invoices by Nike?

     25   A. I don't recall that sitting here today. No.

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     5    Q. Do you recall Avenatti going further and describing that

     6    Franklin would say that Franklin had been directed to

     7    facilitate payments to Ayton, Bol Bol and McCoy?

     8    A. I recall him generally saying that Franklin was directed to

     9    make payments to the families of Ayton and others. I don't

     10   recall that specific phrase that you used.
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 Number: 2                Author: betsys      Subject: Sticky Note        Date: 2/9/2020 3:19:44 PM
 PAGE 1505

 13   Q. I want to clarify when Mr. Leinwand said to the effect that

      14   head of communications and head of sports marketing are going

      15   to say who the F is Gary Franklin, Jamal James and Carlton

      16   DeBose, he actually used the four-letter word, not the way I

      17   described it, correct?

      18   A. He said something to that effect. I can't recall.

      19   Q. AA3, page 8, middle of the page. He actually used the

      20   explicative, the F word, right?

      21   A. I can't recall whether it was fuck or shit or -- I can't

      22   recall exactly but my notes capture that. That was my memory

      23   at the time.

      24   Q. Your notes capture the F word, all four letters, correct?

      25   A. Yes.
